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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
CHRISTOPHER R. DESMOND,
Plaintiff,
V. : CiV. NO. 10-165-JJF

wARDEN PERRY PHELPS and MIKE
LITTLE,

Defendant.
MEMDRANDUM ORDER

Plaintiff Christopher R. Desmond, an inmate at the James T.
Vaughn Correctional Center, Smyrna, Delaware, filed this action
pursuant to 42 U.S.C. § 1983. He proceeds p;p §p, but did not pay
the filing fee or seek leave to proceed ip fp;ma pauperis pursuant
tO 28 U.S.C. § 1915.

The Prison Litigation Reform Act (“PLRA”) provides that a
prisoner cannot bring a new civil action or appeal a judgment in a
civil action ip fp;ma pauperis if he has three or more times in the
past, while incarcerated, brought a civil action or appeal in
federal court that was dismissed as frivolous, malicious, or for
failure to state a claim upon which relief may be granted. 28
U.S.C. § 1915(g). A case dismissed as frivolous prior to the
enactment of the PLRA (i.e., April 26, 1996) is counted when
applying the "three strikes rule”. Keener v. Pennsvlvania Bd. of
Probation & Parole, 128 F.3d 143 (3d Cir. 1997). An exception is
made to the “three strikes rule”, when the prisoner is in imminent

danger of serious physical injury. A prisoner who is not

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proceeding ip fp;ma pauperis may file a new civil action or appeal
even if that prisoner has three or more dismissals described in 28
U.s.c. 1915(9).

Plaintiff, while incarcerated, has filed than three civil
actions that have been dismissed as frivolous or for failure to
state a claim upon which relief may be granted. §§§

Desmond v. Brady, Civ. No. 03-1046-JJF (D. Del. Sept. 24, 2004);
Desmond v. Snyder, Civ. No. 95-205-SLR (D. Del. Mar. 30, 1995);
Desmond v. Stafford, Civ. No. 86-53-LON (D. Del. June 3, 1986).
Therefore, Plaintiff may not file another civil action ip fp;ma
pauperis while incarcerated unless he is in "imminent danger of
serious physical injury" at the time of the filing of his
complaint. 28 U.S.C. § 1915(g); Abdul-Akbar v. McKelvie, 239 F.3d
307, 311 (3d Cir. 2001). After reviewing his Complaint, the Court
finds that it does not meet that standard. Based upon the
foregoing, Plaintiff is not excused from the restrictions under §
1915(g), and he may not proceed lp fp;ma pauperis.

THEREFORE, IT IS HEREBY ORDERED that:

1. Plaintiff's may not proceed ip forma pauperis.
2. Plaintiff is given thirty (30) days from the date of

this order to pay the $350.00 filing fee. If Plaintiff does not
pay the filing fee within that time, the Complaint shall be

dismissed pursuant to 28 U.S.C. § 1915(g).

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DATE l UNII\@ sTAfll:s MSTRICT JUD

